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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    RUBY FREEMAN

    and                                               Civil Action No. 21-3354 (BAH)

    WANDREA MOSS,
                                                      Judge Beryl A. Howell
                          Plaintiffs,

           v.

    RUDOLPH W. GIULIANI,

                          Defendant.




          NOTICE OF DEFENDANT GIULIANI’S FAILURE TO COMPLY WITH
                         THE AUGUST 30, 2023 ORDER

          Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss, by and through their counsel,

hereby notify the Court of Defendant Rudolph Giuliani’s failure to comply with the Court’s Order

of August 30, 2023, granting plaintiffs’ motion for discovery sanctions (the “Sanctions Order”),

and for the Court’s information, state the following:

      1. The Sanctions Order ordered Defendant Giuliani to take or cause the Giuliani Businesses1

to take certain actions by September 20, 2023, including:

          a. To produce complete responses to plaintiffs’ Requests for Production (“RFP”)
             Numbers 40 and 41;

          b. To ensure that Giuliani Communications LLC and Giuliani Partners LLC (collectively,
             the “Giuliani Businesses”) produce complete responses to plaintiffs’ requests for
             financial documents and viewership metrics, including RFP Numbers 19 and 35 and
             designate one or more corporate representatives to sit for depositions on behalf of the
             Giuliani Businesses;


1
 The Giuliani Businesses are defined as Giuliani Communications LLC and Giuliani Partners
LLC.
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       c. To reimburse plaintiffs’ attorneys’ fees and costs associated with their successful first
          motion to compel discovery in the amount totaling $89,172.50, with interest on that
          amount to accrue from July 25, 2023; and

       d. To ensure that the Giuliani Businesses reimburse plaintiffs’ attorneys fees associated
          with their successful motion to compel discovery from those Businesses in the amount
          totaling $43,684, with interest on that amount to accrue from September 20, 2023
          against defendant Rudolph W. Giuliani personally if his Businesses fail to timely
          comply.

   2. As of the date of this filing, Defendant Giuliani has failed to take any of the actions, or to

cause the Giuliani Businesses to take any of the actions, so-ordered in the Sanctions Order.

   3. Plaintiffs are considering what further relief may be appropriate and will file a request, if

any, no later than September 29, 2023, unless the Court directs otherwise.




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DATED: September 21, 2023

/s/ Michael J. Gottlieb               UNITED TO PROTECT DEMOCRACY
WILLKIE FARR & GALLAGHER LLP          John Langford*
Michael J. Gottlieb (974960)          Rachel Goodman*
Meryl C. Governski (1023549)          82 Nassau Street, #601
J. Tyler Knoblett (1672514)           New York, NY 10038
Timothy P. Ryan (1719055)             Tel: (202) 579-4582
1875 K Street NW                      john.langford@protectdemocracy.org
Washington, DC 20006                  rachel.goodman@protectdemocracy.org
Tel: (202) 303-1000
Fax: (202) 303-2000                   DUBOSE MILLER LLC
mgottlieb@willkie.com                 Von A. DuBose*
mgovernski@willkie.com                75 14th Street NE
jknoblett@willkie.com                 Suite 2110
                                      Atlanta, GA 30309
WILLKIE FARR & GALLAGHER LLP          Tel: (404) 720-8111
M. Annie Houghton-Larsen*             dubose@dubosemiller.com
787 7th Avenue
New York, New York                    UNITED TO PROTECT DEMOCRACY
Tel: (212) 728-8164                   Christine Kwon*
Fax: (212) 728-9164                   555 W. 5th St.
mhoughton-larsen@willkie.com          Los Angeles, CA 90013
                                      Tel: (919) 619-9819
                                      Christine.kwon@protectdemocracy.org

                                      UNITED TO PROTECT DEMOCRACY
                                      Sara Chimene-Weiss*
                                      7000 N 16th Street Ste. 120, #430
                                      Phoenix, AZ 85020
                                      Tel: (202) 579-4582
                                      sara.chimene-weiss@protectdemocracy.org

                                      UNITED TO PROTECT DEMOCRACY
                                      Brittany Williams*
                                      15 Main St., Suite 312
                                      Watertown, MA 02472
                                      Tel: (202) 579-4582
                                      brittany.williams@protectdemocracy.org

                                      *Admitted pro hac vice

                                      Attorneys for Plaintiffs Ruby Freeman and
                                      Wandrea’ Moss




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2023, the foregoing document was filed with the

Clerk of the Court of the U.S. District Court for the District of Columbia by using the CM/ECF

system, which will automatically generate and serve notices of this filing to all counsel of record.



Dated: September 21, 2023

                                                                     /s/ Michael J. Gottlieb
                                                      WILLKIE FARR & GALLAGHER LLP
                                                                Michael J. Gottlieb (974960)
                                                                        1875 K Street, #100
                                                                    Washington, DC 20006
                                                                        Tel: (202) 303-1000
                                                                       Fax: (202) 303-2000
                                                                    mgottlieb@willkie.com




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